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FILED
INOPEN COURT

WAR - 5

IN THE UNITED STATES DISTRICT COURT FOR THE. |
LERK, U.S. RIC’ ik
EASTERN DISTRICT OF VIRGINIA atc ee

ALEXANDRIA DIVISION

 

   

UNITED STATES OF AMERICA |

 

Vv. Case No. 1:20-cr-273-CMH
PATRICIA ANDREA LANDAETA
GONCHAR,
Defendant.
STATEMENT OF FACTS

The United States and the defendant, PATRICIA ANDREA LANDAETA GONCHAR
(hereinafter, “the defendant”), agree that at trial, the United States would have proven the
following facts beyond a reasonable doubt with admissible and credible evidence:

1. On or about October 3, 2019, in Fairfax County, Virginia, within the Eastern
District of Virginia, GONCHAR knowingly, and with intent to defraud, used an unauthorized
access device, namely, a PNC debit card in the name of VICTIM-1, and by such conduct obtained
items of value aggregating $1,000 or more during a one-year period, which offense affected
interstate commerce.

2. On or about October 3, 2019, in Fairfax County, Virginia, within the Eastern
District of Virginia, GONCHAR knowingly possessed and used, without lawful authority, a means
of identification of another person with intent to commit and in connection with unlawful activity
that constitutes a violation of Federal law and a felony under Virginia law.

3. On or about October 3, 2019, GONCHAR took a wallet containing access devices
from VICTIM-1’s person without VICTIM-1’s permission while VICTIM-1 was shopping at a

store in the Tysons area of Fairfax County, Virginia, within the Eastern District of Virginia.

 
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4, GONCHAR then took VICTIM-1’s wallet and access devices to a nearby
department store in Tysons Corner Mall, in Fairfax County, Virginia, within the Eastern District
of Virginia. There, GONCHAR used one of VICTIM-I's access devices to purchase $1,605.90 in
property from the department store. VICTIM-1 did not authorize GONCHAR to use the access
device.

5. Officers from the Fairfax County Police Department (“FCPD”) arrested
GONCHAR in the parking lot of Tysons Corner Mall. In GONCHAR’s vehicle, FCPD officers
recovered the property GONCHAR had purchased with VICTIM-1’s access device, a receipt for
that property, and VICTIM-1’s wallet.

6. During and immediately after her arrest, GONCHAR failed to provide her own
name to FCPD officers. Instead, GONCHAR pretended to be VICTIM-2 by providing FCPD with
VICTIM-2’s identifying information and purported government identification with GONCHAR’s
picture and VICTIM-2’s identifying information. VICTIM-2 did not authorize GONCHAR to use
her identifying information.

7. GONCHAR purchased VICTIM-2’s identifying information in New York.
GONCHAR then used that information to obtain other means of identification, including bank
cards in VICTIM-2’s name. GONCHAR also used that information to lease an apartment in
VICTIM-2’s name in California.

8. At the time of her arrest, GONCHAR possessed: (1) a social security card with
VICTIM-2’s social security number; (2) a fraudulent driver’s license with GONCHAR’s picture
but VICTIM-2’s name; (3) at least two bank cards in VICTIM-2’s name.

9. GONCHAR provided VICTIM-2’s means of identification to FCPD officers with

the intent to commit and in furtherance of Federal and Virginia and felony offenses, including
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unlawful flight to avoid prosecution (18 U.S.C. § 1073) and identity theft (Va. Code Ann. § 18.2-
186.3),

10. Following GONCHAR?’s Virginia arrest, she was charged with several felony
offenses in the Commonwealth. She was subsequently released on bond. After her release on
Virginia charges, GONCHAR fled the District. The Fairfax County General District Court issued
a bench warrant for GONCHAR in VICTIM-2’s name.

ll. On March 14, 2020, VICTIM-2 was arrested when she reentered the country in
Atlanta, Georgia. VICTIM-2 was held in custody for almost two weeks and extradited to this
District. VICTIM-2 was not released until FCPD officers in this District realized that VICTIM-2
was not GONCHAR. VICTIM-2 played no role in GONCHAR’s criminal conduct.

12. After further investigation, the authorities discovered GONCHAR’s true identity
and issued a warrant in her name. GONCHAR was arrested in California on September 8, 2020.

13. This statement of facts includes those facts necessary to support the plea agreement
between the defendant and the United States. It does not include each and every fact known to the
defendant or to the United States, and it is not intended to be a full enumeration of all of the facts

surrounding the defendant’s case.
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14. The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.

Date: 5 2 Lrorl_

By:

Respectfully submitted,

Raj Parekh
Acting United States Attorney

 

Christopher J. Hood
Marc J. Birnbaum
Assistant United States Attorneys
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After consulting with my attorney and pursuant to the plea agreement entered into this day
between the defendant, PATRICIA ANDREA LANDETA GONCHAR, and the United States, I
hereby stipulate that the above Statement of Facts is true and accurate, and that had the matter

proceeded to trial, the United States would have proved the same beyond a reasonable doubt.

 

Patricia Andrea Landeta Gonchar

I am Femando Villarroel, defendant’s attorney. I have carefully reviewed the above
Statement of Facts with her. To my knowledge, her decision to stipulate to these facts is an
informed and voluntary one,

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Fernando Villarroel
Attorney for Defendant
